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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION




 DONNA CURLING, ET AL.,

                                                 Civil Action No. 1:17-CV-2989-AT
 v.

 BRAD RAFFENSPERGER, ET AL.,

 Defendants.


      COALITION PLAINTIFFS’ NOTICE OF FILING COPIES OF
          CORRESPONDENCE CONTAINING LINKS TO
            NON-CONFIDENTIAL EXPERT REPORTS

       During the February 2, 2022, teleconference, the Court requested counsel

provide a copy of Coalition Plaintiffs’ email communication distributed chiefly to

municipal and county election officials containing links to hosted copies of Dr.

Halderman’s and Dr. Appel’s rebuttal declarations, as well as that of Coalition

Plaintiff’s own expert, Dr. Stark. In response, Coalition Plaintiffs attach to this

Notice the Declaration of Marilyn Marks, with Exhibits A–E. These materials

provide the form email that was sent on August 3, 2021, by Coalition for Good

Governance, with all linked documents that no longer have active links.

       As the State’s filing noted yesterday, (Doc. 1302), certain links in the email

are presently inactive. Ms. Marks’s declaration explains that the links




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automatically expired 180 days after their creation on August 3, 2021, according to

a default setting of the ShareFile service that was selected when the links were

created.

      Ms. Marks’s declaration also explains that Coalition for Good Governance

sought and obtained confirmation from Curling Plaintiffs’ counsel that the

Halderman rebuttal report, which they had not designated as AEO or confidential

under the protective order (Doc 477), was “not confidential at all” prior to drafting

the email containing links both to that rebuttal report and to the non-confidential

reports of Dr. Appel and Coalition’s own expert, Dr. Stark.

      Respectfully submitted this 3rd day of February, 2022.

  /s/ Bruce P. Brown                          /s/ Robert A. McGuire, III
  Bruce P. Brown                              Robert A. McGuire, III
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                           Ricardo Davis & Megan Missett

               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
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 DONNA CURLING, ET AL.,
 Plaintiffs,
                                              Civil Action No. 1:17-CV-2989-AT
 v.
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 Defendants.

             CERTIFICATE OF COMPLIANCE AND SERVICE

      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has

been prepared in accordance with the font type and margin requirements of LR 5.1,

using font type of Times New Roman and a point size of 14, and has been served

on all counsel via the Court’s electronic filing system.

      This 3rd day of February, 2022.

                                              /s/ Robert A. McGuire, III
                                              Robert A. McGuire, III




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